Case 2:20-cv-00630-JMS-DLP Document 66 Filed 01/21/21 Page 1 of 3 PageID #: 1190




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

 PATRICK R. SMITH and                       )
 BRANDON S. HOLM, individually and          )
 on behalf of all others similarly situated,)
                                            )
                Plaintiffs,                 )
                                            )
        v.                                  )         Cause No. 2:20-cv-00630-JMS-DLP
                                            )
 JEFFREY ROSEN in his official              )
 capacity as the Acting Attorney General of )
 the United States, et al.,                 )
                                            )
                Defendants.                 )

                NOTICE OF AUTOMATIC INITIAL EXTENSION OF TIME

        The Defendants, by counsel, and pursuant to S.D. Ind. L.R. 6-1, hereby notify the court

 that the time for filing their Answer or other responsive pleading to the Plaintiffs’ Complaint is

 automatically extended for twenty-eight days, to and including February 22, 2021. The

 Complaint was served on the United States Attorney’s Office on November 25, 2020, making

 any Answer or other responsive pleading due on or before January 25, 2021. This deadline has

 not been previously extended. The extension does not interfere with a Case Management Plan,

 scheduled hearing or trial, or other deadlines set by Court Order.

        The Defendants advise the Court that counsel for the Defendants contacted counsel for

 the Plaintiffs via an email message regarding this notice, and counsel for the Plaintiffs has no

 objection to the extension of time.
Case 2:20-cv-00630-JMS-DLP Document 66 Filed 01/21/21 Page 2 of 3 PageID #: 1191




                                           Respectfully submitted,

                                           JOHN E. CHILDRESS
                                           Acting United States Attorney


                                     By:   s/ Shelese Woods
                                           Shelese Woods
                                           Assistant United States Attorney

                                           Brigham J. Bowen
                                           Assistant Director

                                           Lisa A. Olson
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                                           Counsel for Defendants




                                       2
Case 2:20-cv-00630-JMS-DLP Document 66 Filed 01/21/21 Page 3 of 3 PageID #: 1192




                                CERTIFICATE OF SERVICE


        I hereby certify that on January 21, 2021, the foregoing was filed electronically through

 ECF/CM. On this same date, electronic service will be made to all counsel of record through the

 Court’s ECF/CM system.



                                                     s/ Shelese Woods
                                                     Shelese Woods
                                                     Assistant U.S. Attorney




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